                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

SHAWNEE MISSION MEDICAL       )
CENTER, INC. (d/b/a           )
ADVENTHEALTH SHAWNEE MISSION )
                              )
     Plaintiff,               )                          Cause No. 4:25-CV-513
                              )
v.                            )
                              )
BLUE CROSS AND BLUE SHIELD OF )
KANSAS CITY,                  )
                              )
     Defendant.               )

                                       NOTICE OF REMOVAL

        Blue Cross and Blue Shield of Kansas City (“Defendant” or “Blue KC”) hereby removes Case

No. 2516-CV20838, Shawnee Mission Medical Center, Inc. (d/b/a AdventHealth Shawnee Mission) v. Blue Cross

and Blue Shield of Kansas City, from the Circuit Court of the County of Jackson, State of Missouri (“State

Court Action”), to the United States District Court for the Western District of Missouri. Blue KC

removes the action pursuant to 28 U.S.C. §§ 1331, 1332, 1441(a), 1442, 1446, and 1367. In support of

its removal, Blue KC further states:

    1. Blue KC is a Missouri nonprofit corporation with its principal place of business in Jackson

        County, Missouri. Petition ¶ 2.

    2. It provides comprehensive health care coverage to approximately one million members in the

        greater Kansas City region.

    3. Blue KC’s mission is to provide affordable access to healthcare and to improve the health of

        its members.

    4. Blue KC is an independent licensee of the Blue Cross Blue Shield Association (“BCBSA”).



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5. On July 1, 2025, Plaintiff filed a Petition in Jackson County, Missouri Case. No. 2516-CV20838

   against Blue KC. (“Petition”).

6. In its Petition, Plaintiff asserts claims for breach of contract, bad faith, quasi-contract, and

   injunctive relief arising from Blue KC’s insistence on validating claims for payment, refusal to

   pay certain claims, and/or paying certain claims at rates Plaintiff finds to be insufficient.

                                      BACKGROUND

7. Blue KC’s role with respect to any given claim varies depending on the type of plan, program,

   or policy at issue. Blue KC’s roles may involve underwriting, administration, and/or

   processing claims for different types of healthcare benefits including, but not limited to:

           a.) Plans insured under employer-sponsored group insurance policies issued by

           Blue KC (fully insured group plans);

           b.) Self-insured plans, where Blue KC provides administrative services but the

           group plan or sponsor pays benefits due (administrative services only plans);

           c.) Programs covering federal employees and their dependents;

           d.) the Medicare Advantage Program (Medicare Part

8. Upon information and belief, each type of plan or program described in the preceding

   paragraph is implicated by Plaintiff’s claims for reimbursement described in in its Petition.

   Several of those Plans and Programs are described in greater detail below.



                i. ERISA Plans

9. With certain limited exceptions, ERISA governs any “employee benefit plan” if the plan is

   established or maintained by an employer or employee organization engaged in commerce or

   in any industry or activity affecting commerce. 29 U.S.C. § 1003.




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10. An “employee benefit plan” is defined as a “welfare benefit plan” or a “pension benefit plan.”

   29 U.S.C. §1002(3). A plan is a welfare benefit plan if it “was established or is maintained for

   the purpose of providing for its participants or their beneficiaries, through the purchase of

   insurance or otherwise…benefits in the event of sickness, accident, disability, death or

   unemployment.” 29 U.S.C. § 1002(1) (references to other types of employer-provided benefits

   qualifying as ERISA plans omitted).

11. ERISA expressly provides that it will apply to all employee welfare benefit plans with certain

   limited exceptions

12. Many, but not all, of the plans administered by Blue KC are sponsored by private employers

   and employee organizations (such as unions) and are governed by ERISA.

13. Upon information and belief, Blue KC is the claims fiduciary for many of the ERISA-governed

   plans at issue in this litigation and has acted in that capacity with respect to some of the claims

   at issue in this litigation.



            ii.      The Federal Employees’ Health Benefits Program

14. The Federal Employees’ Health Benefits Program (“FEHBP”) is a health benefits plan for

   federal employees, retirees, and their dependents created by the Federal Employees Health

   Benefits Act (“FEHBA”), 5 U.S.C. §§ 8901-8914.

15. Under FEHBA, the United States, through the Office of Personnel Management (“OPM”),

   contracts with various private carriers to offer health benefit plans to its employees, with a

   variety of benefits, coverages and costs.

16. OPM is charged with managing FEHBP “in the interest of both the employees and the

   Government,” id., and is specifically authorized by Congress to promulgate FEHBA

   regulations. 5 U.S.C. § 8913.


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17. The importance to the federal government of cost controls in the FEHBP is illustrated by the

   fact that one of the first principles enunciated by Congress in enacting FEHBA was the need

   to “discourage unnecessary use of expensive facilities and services.” S. Rep. No. 86-468, at 4

   (1959).

18. The Blue Cross and Blue Shield Service Benefit Plan, also known as the Federal Employee

   Program or FEP, has been part of the FEHBP since its inception in 1960.

19. OPM contracts with the BCBSA, which sponsors the plan on behalf of various BCBS licensees

   across the country, which then underwrite the plan for members living or receiving services

   in the areas where they operate.

20. Nationwide, the FEP covers roughly 5.5 million Federal employees, retirees and their families

   out of the nearly 8.3 million people who receive their benefits through the FEHBP.

21. Although Blue KC administers the FEP in the greater Kansas City region, federal employees

   do not contract for health benefits with Blue KC or BCBSA. Instead, they “enroll” in the FEP

   pursuant to OPM’s regulations. 5 C.F.R. §§ 890.101(a), .102-.104, and subparts C, D, and K.

   A statement of Benefits is issued annually in accordance with 5 U.S.C. § 8907 governs the

   benefits provided by FEP.

22. Blue KC administers claims relating to enrollees of FEP who receive covered services in the

   Kansas City area and, through that program, makes reimbursement payments from Blue KC’s

   own accounts (and is, in turn, reimbursed pursuant to a letter of credit account for the FEP

   via a specially-created fund in the U.S. Treasury called the Employees Health Benefits Fund).



             iii.   The Medicare Advantage Program

23. The Centers for Medicare and Medicaid Services (“CMS”) is a branch of the Department of

   Health and Human Services responsible for administering Medicare benefits.


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24. Under Medicare Part C, CMS may delegate its statutory obligation to provide Medicare

    benefits to private sector insurers, called Medicare Advantage Organizations.

25. Part C of the Medicare Act—authorizing CMS to contract out its duties—subjects Medicare

    Advantage Organizations to extensive federal statutes and regulations.

26. Those provisions also specifically contemplate the use of subcontractors under certain

    circumstances. See 42 C.F.R. § 422.504

27. Blue KC is a Medicare Advantage Organization and has been sued for its alleged actions or

    omissions as a Medicare Advantage Organization. Petition, ¶¶ 39-51.



                                DIVERSITY JURISDICTION

28. The Court may exercise diversity jurisdiction over this action.

29. Pursuant to 28 U.S.C. § 1332, this Court “shall have original jurisdiction of all civil actions

    where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

    costs, and is between – (2) “citizens of a State and citizens or subjects of a foreign state.”

30. Plaintiff seeks damages in excess of $75,000. Petition, ¶ 96 ( stating, “Advent to date has

    suffered damages in excess of $2 million exclusive of prejudgment interest”).

31. Plaintiff is a Kansas not-for-profit corporation, with its principal place of business in Shawnee

    Mission, Johnson County, Kansas. Petition, ¶ 1. It is a citizen of Kansas.

32. Blue KC has its principal place of business in Missouri and is incorporated in that state as well.

    It is a citizen Missouri.

33. There is complete diversity between the parties.

34. “[M]any courts have held that the forum-defendant rule does not apply … if the action is

    removed before the plaintiff ‘properly join[s] and serve[s]’ the forum-state defendant.” Cagle

    v. NHC Healthcare-Maryland Heights, LLC, 78 F.4th 1061, 1066 (8th Cir. 2023)


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35. At the time of this removal Blue KC has not been served with the Petition.

36. The State Court Action is removable because this Court has original jurisdiction based on the

    complete diversity of the parties and the amount in controversy exceeds $75,000. See Petition,

    ¶ 96.

                         FEDERAL OFFICER JURISDICTION

37. Alternatively, the Court may exercise federal officer jurisdiction over this action.

38. Removal pursuant to 28 U.S.C. §1442(a)(1) (“Federal Officer jurisdiction”) is appropriate

    where the removing party demonstrates that (1) it is a “person” under the statute, (2) it “acted

    under the direction of a federal officer,” (3) a “causal connection” exists between its

    complained-of conduct and official federal authority, and (4) it has a “colorable federal

    defense” to the claim or claims against it.

39. Blue KC is a person as that term is used by 28 U.S.C. § 1442(a)(1).

40. When a health insurer participates in the Medicare Advantage program or FEHBP, as Blue

    KC has done, it is assisting the federal government with the basic governmental task of

    providing health benefits.

41. In this capacity, Blue KC delivers federal benefits to federal beneficiaries.

42. In this capacity, Blue KC does the business of the federal government and not merely its own

    business. See Trinity Home Dialysis, Inc. v. WellMed Networks, Inc., No. 22-10414, 2023 WL

    2573914, at *3-4 (5th Cir. Mar. 20, 2023) (unpublished per curiam) (affirming denial of motion

    to remand where Medicare Advantage Organization removed litigation from state court to

    federal court).

43. In serving as a Medicare Advantage Organization, Blue KC performed a job that the federal

    government would otherwise have to perform.




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44. Plaintiff asserts in this action, among other claims, claims for damages involving various

   federal laws and regulations governing Medicare Advantage Organizations. See Petition, ¶¶ 39-

   51, 78.

45. A person acts under the direction of a federal officer pursuant to 28 U.S.C. § 1442(a)(2) where

   its actions “involve an effort to assist, or to help carry out, the duties or tasks of the federal

   superior” Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 147 (2007).

46. In serving as a Medicare Advantage Organization, Blue KC acted under the direction of a

   federal officer.

47. Blue KC acts under the direction of a federal officer because a Medicare Advantage

   Organization is “subject to extensive ‘detailed regulation, monitoring, and supervision by the

   federal government while … assisting the government in carrying out its delegated duties.” See

   Trinity Home, 2023 WL 2573914, at *3 (citing Watson, 551 U.S. at 153; Cnty. Bd. of Arlington

   Cnty., Va. v. Express Scripts Pharmacy, Inc., 996 F.3d 243, 252-53 (4th Cir. 2021)).

48. There is a causal connection between the complained-of conduct (making claims decisions

   under Medicare Advantage Program and validating claims) and Blue KC’s federal authority;

   namely its authority to remit payment to providers under the Medicare Advantage program.

   See Trinity Home, 2023 WL 2573914, at *3-4 (holding the relationship with CMS and a Medicare

   Advantage Organization was “unusually close” and therefore sufficient to support federal

   officer jurisdiction removal) (citing Watson, 551 U.S. at 151-52.).

49. Though Blue KC exited the Medicare Advantage marketplace as of January 1, 2025, it served

   as a Medicare Advantage Organization prior to that date and during the period at issue in

   Plaintiff’s Petition. Petition, ¶¶ 16, 55.




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50. Upon information and belief, Blue KC acted in compliance with detailed federal regulations

    governing Medicare Advantage Organizations and when engaging in the conduct that forms

    the basis of Plaintiff’s complaint.

51. Plaintiff’s Petition also raises a dispute with respect to Blue KC’s performance of its role as a

    “carrier” with respect to FEP claims. Jacks v. Meridian Res. Co., LLC, 701 F.3d 1224, 1227 (8th

    Cir. 2012).

52. Plaintiff asserts in this action, among other claims, claims for damages involving various

    federal laws and regulations governing FEBHA.

53. The “clinical validation audits” that form the basis of Plaintiff’s claims are performed by Blue

    KC in its role as a carrier for the Service Benefit Plan with respect to claims submitted by

    Plaintiff for medical services provided to participants in the Service Benefit Plan.

54. Blue KC acted under federal direction when it engaged in the conduct of which Plaintiff

    complains.

55. “Government contractors fall within the terms of the federal officer removal statute, at least

    when the relationship between the contractor and the Government is an unusually close one

    involving detailed regulation, monitoring or supervision.” Jacks, 701 F.3d at 1231 (citation

    omitted). Blue KC’s role as a carrier for the FEP is such a relationship. Id. at 1233. “At all

    times, [Blue KC] is subject to OPM oversight, uniquely operates with the United States

    Treasury, submits to OPM’s regulatory requirements, and ultimately answers to federal

    officers. Id. at 1234.

56. For example, OPM requires carriers for the FEP to develop programs to “prevent, detect, and

    identify persons and organizations” engaged in fraud, waste or abuse. U.S. Office of Personnel

    Management, FEHB Program Carrier Letter No. 2017-13 (Nov. 20, 2017), available at

    https://www.opm.gov/healthcare-insurance/carriers/fehb/2017/2017-13.pdf.                “Abuse”


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    includes, among other things, “misusing codes on the claim (i.e., the way the service is coded

    on the claim does not comply with national or local coding guidelines or is not billed as

    rendered).” Id.; see also, e.g., 48 C.F.R. § 1609.70(b)(8) (requiring FEHBA carriers to safeguard

    FEHBA funds against waste and loss).

57. FEHBA may withdraw approval of a carrier for its failure to “assure that the plan provides

    properly paid or denied claims….” Id. at 1609.70(c)(6).

58. There is also a causal connection between the complained-of conduct and Blue KC’s federal

    authority, the complained-of audits “unquestionably occurred while [Blue KC] performed its

    duties under the direction of a federal officer or agency.” Jacks v. Meridian, 701 F.3d at 1230

    n.3.

59. Blue KC has several colorable federal defenses to the claim including but not limited to Blue

    KC’s compliance with federal law, absence of illegality under federal law, and preemption

    pursuant to 42 CFR § 422.402, 5 U.S.C. § 8902(m)(1); and 42 U.S.C. 1395w-26(b)(3).

                            FEDERAL QUESTION JURISDICTION

60. Alternatively, the Court may exercise diversity jurisdiction over this action.

61. Pursuant to 28 U.S.C. § 1331, this Court “shall have original jurisdiction of all civil actions

    arising under the Constitution, laws, or treaties of the United States.”

62. A case “arises under federal law” within the meaning of 28 U.S.C. § 1331 if the plaintiff’s right

    to relief necessarily depends on a substantial question of federal law. See Franchise Tax Bd. v.

    Construction Laborers Vacation Trust, 463 U.S. 1, 27-28 (1983).

63. Plaintiff’s cause of action not only implicates but is fully dependent on a purported act

    “unlawful” under federal law. It is, therefore, necessarily dependent on a dispositive

    interpretation of federal law. See Petition ¶ 32.




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64. The relief sought necessarily depends on a substantial question of federal law because the claim

    as pled requires Plaintiffs to prove conduct unlawful under the Medicare Advantage Program,

    42 C.F.R. Part 42 and other unidentified federal law and regulations.

65. Further, when a claim “relates to any employee benefit plan” under ERISA’s preemption

    provision, 29 U.S.C. § 1144(a), “and the claim seeks to recover benefits due or enforce rights

    under the terms of a plan, 29 U.S.C. § 1132(a), such that the exclusive cause of action is under

    federal law,” the entire case is removable. See Neumann v. AT&T Comm'n, Inc., 376 F.3d 773,

    779-80 (8th Cir. 2004).

66. A portion of the claims sought by Plaintiff involve benefits under ERISA plans.

67. ERISA completely preempts some or all of Plaintiff’s state law claims insofar as the claims

    arise from the administration of ERISA-governed benefit plans.

                       THE NOTICE OF REMOVAL IS PROPER

68. Blue KC has not yet been served with the summons or Petition and the removal takes place

    within one year of the date on which the Petition was filed. Thus, this Notice of Removal is

    timely under 28 U.S.C. § 1446(b).

69. Venue of this civil action is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1441(a).

70. Contemporaneously herewith, Blue KC files a copy of this Notice in the Circuit Court of the

    County of Jackson, State of Missouri, in accordance with 28 U.S.C. § 1446(d).

71. Also contemporaneously herewith, Blue KC provided Plaintiff with a copy of this Notice,

    pursuant to 28 U.S.C. § 1446(d).

72. Also filed is the requisite Civil Cover Sheet.

73. For all of the foregoing reasons, this Court has federal question, federal officer, and diversity

    jurisdiction over this lawsuit and removal is, therefore, proper.




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   74. If the Court exercises federal question jurisdiction over only a portion of the claims, this

       Court may exercise supplemental jurisdiction over the remaining claims under 28 U.S.C. §

       1367 because those claims form part of the same case or controversy as the federal claims.



       WHEREFORE, Blue KC respectfully removes this action from the Circuit Court of the

County of Jackson, State of Missouri, bearing Case No. 2516-CV20838 to this Court, and respectfully

requests that this Court exercise its jurisdiction over this action, and grant such other relief as the

Court may deem just and proper.

                                               Respectfully submitted,


                                               LASHER HOLZAPFEL SPERRY
                                               & EBBERSON

                                               By: /s/ Aaron E. Schwartz
                                               Aaron E. Schwartz, Mo. Bar #58745
                                               601 Union Street, Suite 2600
                                               Seattle, WA 98101
                                               206-654-1230
                                               schwartz@lasher.com

                                               Attorneys for Defendant, Blue Cross and Blue
                                               Shield of Kansas City




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                                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 2nd day of July 2025, the foregoing was filed

electronically with the Clerk of the Court to be served by operation of the Court’s electronic filing

system. A copy of these documents will also be mailed and emailed to counsel for Plaintiff:

       M. Courtney Koger
       2405 Grand Blvd., Suite 600
       Kansas City, MO 64108
       Tel: 816-960-0900
       Fax: 816-960-0041
       Courtney.Koger@KutakRock.com

                                                      /s/Aaron E. Schwartz




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                    EXHIBIT A

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                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY            AT INDEPENDENCE



RE:  SHAWNEE MISSION MEDICAL CENTER V. BLUE CROSS AND B
CASE NO: 2516-CV20838


TO:     M. COURTNEY KOGER
        2405 Grand Boulevard
        Suite 600
        KANSAS CITY, MO 64108

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on 07/01/25.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                       RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                            Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                              RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                         Authentication of foreign judgment required.
RULE 4.2 (2)                                                             Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                       RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                      ACTIONS
  No fee, or incorrect fee, received; fee required is $______.           Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                           Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                       Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                                Supreme Court Rule 54.12c.
  No personal checks accepted.                                           Notice for Service by Publication required pursuant to
                                                                          Supreme Court Rule 54.12c.
RULE 68.1                                                                Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                              pursuant to Supreme Court Rule 54.12b.

   OTHER: Per Local Court Rule 4.22, please submit a Form 4 - Confidential Civil Filing Information Sheet
which can be found at https://www.16thcircuit.org/miscellaneous-forms. Please also refile both your motion and
proposed order for private process server to include the 2025 PPS registration numbers. For questions please
contact at 816-881-3970.
   Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
   The private process server listed is not on our approved list.
   Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
   Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed JULY 1, 2025 to:
                                                                        COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                  CIRCUIT COURT OF JACKSON COUNTY, MISSOURI


                 JULY 1, 2025                                    By
                    Date                                                               Deputy Clerk
                                                                        415 East 12th St., Kansas City, Missouri 64106
                                                                        308 W. Kansas, Independence, Missouri 64050


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Case no. 2516-CV20838                                 Document
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                                                                   1      Filed 07/02/25         Page 14 of 58DMSLCI5 (8/2014)
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

SHAWNEE MISSION MEDICAL CENTER, INC. D/B/A ADVENTHEALTH SHAW,

                        PLAINTIFF(S),                            CASE NO. 2516-CV20838
VS.                                                              DIVISION 8

BLUE CROSS AND BLUE SHIELD OF KANSAS CITY,

                        DEFENDANT(S).

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that this case is currently assigned to the Honorable BRYAN
E ROUND and a Case Management Conference will be held with the Honorable BRYAN E
ROUND on 20-OCT-2025 in DIVISION 8 at 08:45 AM, pursuant to Administrative Order. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.


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                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.


                                              /S/ BRYAN E ROUND
                                              BRYAN E ROUND, Circuit Judge


                                       Certificate of Service

         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
M. COURTNEY KOGER, 2405 Grand Boulevard, Suite 600, KANSAS CITY, MO 64108

Defendant(s):
BLUE CROSS AND BLUE SHIELD OF KANSAS CITY
 Dated: 02-JUL-2025                       BEVERLY A. NEWMAN
                                          Court Administrator




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               IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                               Case Number: 2516-CV20838
 BRYAN E ROUND
 Plaintiff/Petitioner:                                            Plaintiff’s/Petitioner’s Attorney/Address
  SHAWNEE MISSION MEDICAL CENTER, INC.                            M. COURTNEY KOGER
 D/B/A ADVENTHEALTH SHAW                                          2405 Grand Boulevard
                                                                  Suite 600
                                    vs.                           KANSAS CITY, MO 64108
 Defendant/Respondent:                                            Court Address:
 BLUE CROSS AND BLUE SHIELD OF KANSAS                             415 E 12th
 CITY                                                             KANSAS CITY, MO 64106
 Nature of Suit:
 CC Contract-Other                                                                                                                   (Date File Stamp)

                                                              Summons in Civil Case
      The State of Missouri to: BLUE CROSS AND BLUE SHIELD OF KANSAS CITY
                                      Alias:
  MARK A. NEWCOME, REG. AGENT
  1400 BALTIMORE AVE.
  KANSAS CITY, MO 64105

         COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    02-JUL-2025                               _________________________________________
                                                        Date                                                   Clerk
        JACKSON COUNTY                 Further Information:

                                                                Sheriff’s or Server’s Return
      Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
      I certify that I have served the above Summons by: (check one)
          delivering a copy of the summons and petition to the defendant/respondent.
          leaving a copy of the summons and petition at the dwelling place or usual abode of the defendant/respondent with
            _____________________________________________a person at least 18 years of age residing therein.
          (for service on a corporation) delivering a copy of the summons and petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
      ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
            (Seal)                  Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
                                                                            Date                                      Notary Public


      Sheriff’s Fees
      Summons                  $
      Non Est                  $
      Sheriff’s Deputy Salary
      Supplemental Surcharge   $       10.00
      Mileage                  $                      (______ miles @ $.______ per mile)
      Total                    $
      A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits, see
      Supreme Court Rule 54.


OSCA (11/2021) SM30 (JAKSMCC) For Court Use Only: Document Id # 25-SMCC-7011 1 of 1Civil Procedure Form No. 1, Rules 54.01 – 54.05,
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                                                                                                   54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org → Electronic Filing Information → Required Documents for Service – eFiled cases →
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                     Circuit Court of Jackson County




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                                                                                 2516-CV20838

                    IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                 AT KANSAS CITY, MISSOURI


SHAWNEE MISSION MEDICAL CENTER,
INC. (d/b/a ADVENTHEALTH SHAWNEE
MISSION),
                Plaintiff,

         v.

BLUE CROSS AND BLUE SHIELD OF                         Case No.
KANSAS CITY,
                                                      Division No.
Serve:
Mark A. Newcome
Registered Agent
1400 Baltimore Ave.
Kansas City, MO 64105

                      Defendant.


                                            PETITION

          Plaintiff Shawnee Mission Medical Center, Inc., d/b/a AdventHealth Shawnee Mission

(“Advent”), by and through its counsel of record, and for its Petition, states and alleges as follows:

                                       I. INTRODUCTION

         This case challenges Blue Cross and Blue Shield of Kansas City’s long-standing scheme

to wrongfully and artificially reduce payment to Advent for hospital inpatient services through an

improper BCBSKC revenue-generation practice called “clinical validation audits.” Through this

practice, BCBSKC and its agents, improperly reject the medical diagnoses of Advent’s licensed

physicians, determine those documented medical diagnoses to be clinically “invalid” under

BCBSKC’s own secret and dubious criteria, and use the process to unlawfully deny, recoup, offset,

or otherwise misappropriate millions of dollars in payment rightfully earned by and owed to

Advent. Not only are these clinical validation audits (and their resulting monetary offsets)



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unauthorized under the Agreement between BCBSKC and Advent, but these audits also violate

state law and federal regulations. BCBSKC’s secret processes for determining that the diagnoses

of Advent’s licensed physicians are “clinically invalid” is alarming because BCBSKC’s

determinations about patients’ medical diagnoses have been made by unknown individuals with

unidentified credentials pursuant to undisclosed contracts under undisclosed diagnostic criteria

working for third-party contractors with unknown payment arrangements and financial

incentives.1

         BCBSKC’s unlawful and unethical actions undermine the fundamental principle that

healthcare decisions in America should be made by doctors, with the medical expertise, legal

responsibility and accountability for making treatment decisions for their patients and should not

be made by auditors, accountants or artificial intelligence devices. These wrongful actions

moreover have been taken arbitrarily, without prior notice of the criteria for BCBSKC’s decisions,

nor any meaningful review or appeal process to correct the erroneous actions taken by BCBSKC’s

vendors. For the reasons set forth below, BCBSKC’s continued violation of its agreements,

applicable laws, and industry standards must be stopped and BCBSKC should be held to answer

in damages and other relief.

                                     II. NATURE OF THE CASE

         1.         AdventHealth Shawnee Mission (“Advent”), a Kansas not-for-profit corporation,

has been a contracted hospital with Blue Cross and Blue Shield of Kansas City (“BCBSKC”) since

at least November 1, 2002. The parties entered into a Hospital Network Agreement (as amended,

the “Agreement”) for Advent to participate in certain BCBSKC provider networks and provide


1
  Because BCBSKC has refused to disclose the terms of its contracts with its audit vendors, Advent does not know
the specific payment arrangements, but on information and belief, believes these arrangements contain improper
incentives to deny payment of valid Advent claims for services and involve individuals without a medical license
rendering opinions on medical diagnoses.

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Covered Services (defined below) to Covered Individuals. Advent provides a wide array of

medical care to the residents of Kansas and Missouri.

         2.         BCBSKC, a Missouri not-for-profit health services corporation with its principal

place of business in Jackson County, Missouri, agreed to pay Advent negotiated Payment Rates

under the Agreement and its Exhibits, Attachments, Schedules, and Addenda. Payment Rates for

hospital inpatient services are primarily based on diagnostic related groups (“DRG”) which are

derived based on the diagnoses and procedures documented in patients’ medical records and which

are reported as codes on Advent’s claims for reimbursement. Diagnosis and procedure billing

codes and resulting DRGs are assigned and reported based on ICD-10-CM Official Guidelines for

Coding and Reporting under federally mandated code sets for hospital inpatient services.

         3.         Through its ongoing clinical validation audits, BCBSKC has failed to pay,

recouped, offset, or otherwise wrongfully recovered over $2 million from Advent by refusing to

remit the Payment Rates that correspond with the DRGs submitted to BCBSKC on claims for

reimbursement based on determined diagnoses established by Advent’s licensed physicians.

Instead, in league with its agents or contractors, BCBSKC has repeatedly disregarded certain

diagnosis codes on Advent’s claims for reimbursement, asserting that Advent’s licensed healthcare

professionals’ documented medical diagnoses are “clinically invalid.” BCBSKC’s calls its process

for ostensibly determining if a patient truly possesses the conditions documented in the medical

record “clinical validation.”

         4.         In its clinical validation audits, BCBSKC acknowledges an Advent physician, an

individual with personal knowledge of and legal responsibility for the diagnosis of the patient,

established and documented the medical diagnoses of such patient. Nonetheless, BCBSKC

erroneously opines that clinical evidence in a patient’s medical record does not clinically



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substantiate the licensed doctor’s documented diagnoses. BCBSKC’s determinations to clinically

invalidate physicians’ diagnoses are purportedly based on criteria from various sources, but such

criteria have never been disclosed to Advent in advance. Upon information and belief, the criteria

are often based on outdated literature, irrelevant medical guidance, or publications that do not

reflect an industry standard definition for medical diagnoses. In some instances, BCBSKC has

even manipulated the text of the exact references BCBSKC cited to defend its decisions to

clinically invalidate diagnoses from Advent’s physicians and thereby reduce the Payment Rate

owed to Advent.

         5.         To Advent’s knowledge, BCBSKC has not raised any concerns with the quality of

Advent healthcare professional’s quality of care, despite finding more than 350 of their medical

diagnoses clinically invalid and unsupported.

         6.         BCBSKC’s clinical validation audits provides benefits only to BCBSKC through

improper cost reduction and withholding portions of the Payment Rate earned by and due to

Advent, while receiving and retaining the benefit of quality medical care for itself and its Covered

Individuals.

         7.         BCBSKC’s clinical validation audits only target hospital inpatient claims that

contain diagnoses which have an impact on the DRG assigned. These diagnoses are assigned

classifications called major comorbidities and complications (“MCCs”) or comorbidities and

complications (“CCs”). The presence of one or more MCCs or CCs on a claim form may cause

the DRG reported to change and lead to a higher Payment Rate commensurate with additional

resources often involved in evaluating, diagnosing, and treating conditions designated as MCCs or

CCs. BCBSKC’s clinical validation audits are not designed to review claims for medical




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diagnostic accuracy overall, but rather they are strategically targeted at commonly assigned MCC

or CC diagnoses that, if rejected, impact and reduce the Payment Rate.

         8.         BCBSKC has contracted with various outside vendors to perform clinical

validation audits, without authorization or approval of Advent, without disclosure of the

qualifications of those reviewing documentation, and without providing to Advent the criteria that

will be used to dictate specific definitions of medical diagnoses during these reviews. BCBSKC

has, on information and belief, improperly provided its clinical validation vendors with Advent’s

Confidential Information, protected by the parties’ Agreement, without consent of Advent and

without providing any information about the vendors’ contracts, work or incentives in order to

render decisions adverse to Advent but which benefit BCBSKC’s bottom line.

         9.         Advent believes BCBSKC’s clinical validation procedures and recoupments violate

a number of contractual and statutory provisions, including:

                    a.     Requirements to notify Advent 30 days prior to material changes to
                           BCBSKC’s rules, regulations, procedures, and administrative
                           policies;

                    b.     Confidentiality provisions in the parties’ Agreement;

                    c.     Prohibition on initiating recovery on amounts allegedly paid in error
                           more than 12 months from the date of payment;

                    d.     Prohibition on recovering amounts related to Medical Necessity;

                    e.     Prohibition on the engagement in, the unauthorized practice of
                           medicine by rendering opinions on, and altering, patients’ diagnoses
                           by unlicensed individuals;

                    f.     Deceptive acts and practices.

         10.        In internally appealing these recoupment decisions by BCBSKC, Advent has

incurred extensive costs and resources, and its appeals have been summarily and arbitrarily

rejected. Advent is entitled to declaratory and injunctive relief and damages, in an amount



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exceeding $2 million dollars, based on BCBSKC’s unlawful, unethical, and deceptive practices

and breaches of the parties’ Agreement.

                                  III. JURISDICTION AND VENUE

          11.       Jurisdiction in this Court is proper under R.S.Mo. § 478.070.

          12.       Venue in this Court is proper under R.S.Mo. § 506.290.

          13.       Advent makes claims pursuant to the laws of the State of Missouri, including under

the parties’ contractual Agreement. It does not make any claims under any federal law or

regulation. Nor does Advent make any claim as assignee of benefits under an employee welfare

benefit plan governed by the Employee Retirement Income Security Act of 1974, as amended

(“ERISA”), nor does Advent claim or seek coverage or benefits on behalf of any patient, and

expressly waives same. Advent’s claims are not based on the relationship between any insured and

insurer, but are based on the contractual and business relationships between Advent and BCBSKC,

and the legal duties BCBSKC owes to Advent.

                      IV. STATEMENT OF RELEVANT FACTS AND RULES

          A.        Identification and Relationship of the Parties

          14.       Advent is an acute-care facility licensed as such under the laws of the States of

Kansas and Missouri. In addition to the hospital itself, Advent operates, among other things,

freestanding outpatient surgery centers, therapy centers, imaging centers, a home health agency, a

community health education building, five physician office buildings and an associate childcare

center.

          15.       BCBSKC is a health services corporation, health maintenance organization, and

third-party administrator under the laws of Missouri. 2


2
 See tax ID number XX-XXXXXXX, SBS Company Numbers 104346401, 104342645, 104342644, 104342981 from the
National Association of Insurance Commissioners.

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         16.        BCBSKC reimburses healthcare providers for delivering covered healthcare

services to BCBSKC Covered Individuals. BCBSKC is the largest provider of health insurance

plans in a 32-county service area covering greater Kansas City and northwest Missouri. According

to its website, BCBSKC’s mission is: “To provide affordable access to healthcare and to improve

the health of our members.” Far from adhering to its mission statement, BCBSKC’s actions appear

strategically designed to improve its balance sheet rather than to promote access to healthcare or

improve the health of its members. Indeed, BCBSKC, citing “financial pressures,” announced it

would        exit      the   Kansas     City    Medicare      Advantage       market     in      2025.

https://www.bluekc.com/press-release/blue-kc-to-exit-medicare-advantage-market-in-2025-2/

         17.        The Agreement, inclusive of the amendments and exhibits, requires Advent to

provide Covered Services to Covered Individuals on the terms and conditions of the Agreement

and the provisions of it’s Product Addenda. Relevant definitions in the Agreement include the

following:

         “Covered Individual” means any person entitled and appropriately enrolled to
         receive Covered Services through a BCBSKC Product pursuant to the terms of a
         Benefit Plan.

         “Covered Services” means those Medically Necessary professional and hospital
         services and supplies which are provided pursuant to the terms of this Agreement
         and the Benefit Plan under which the Covered Individual being treated is covered.

         “Medically Necessary or Medical Necessity” means services and supplies which
         are determined by Payor in its discretion or under the terms of the applicable
         Benefit Plan or as may be required under applicable law, including and subject to
         the grievance and appeals processes under such Benefit Plan, essential to the health
         of a Covered Individual and are: (i) provided for the diagnosis or care and treatment
         of a medical or surgical condition; (ii) appropriate and necessary for the symptoms,
         diagnosis or treatment of a medical condition; (iii) within standards of medical
         practice recognized within the local medical community; (iv) not primarily for the
         convenience of the Covered Individual, nor the Covered Individual’s family,
         physician or another provider; (v) consistent with the attainment of achievable
         outcomes; and (vi) reasonably calculated to result in the highest achievable level of
         physiological and psychological functioning and well-being of the Covered
         Individual.

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           18.      Under Section 6.3 of the Agreement, BCBSKC is responsible for paying Advent

for Medically Necessary Covered Services within 30 days:

           6.3     Processing and Payment of Claims by Payor. Upon receipt of a complete
           and accurate bill for Advent Service3 which has been certified as Medically
           Necessary, BCBSKC will process the claim or transmit the claim to Payor for
           payment in accordance with the Benefit Plan and in accordance with the Payment
           Rate, net of amounts recoverable from other third-party payors through
           coordination of benefits and net of any applicable Copayments, Coinsurance or
           Deductibles for all Covered Individuals admitted to Advent. Payor shall pay Advent
           for Covered Services in accordance with the Payment Rates contained in each
           BCBSKC Product-specific Addendum to this Agreement or notify Advent that
           payment shall be delayed, and the reason therefor. Such payment shall normally be
           made within thirty (30) days after receipt of Advent’s final and complete claim for
           Covered Services. For any claims to which the provisions of Mo. Ann. Stat.
           § 376.383 (West 2024) apply, any clean claims received by BCBSKC from either
           Missouri-licensed or Kansas-licensed Network Providers and not paid within
           forty-five days after receipt shall be subject to interest charges. BCBSKC shall
           timely notify Advent of incomplete claims submitted by Advent. 4

           19.      The Agreement allows BCBSKC to conduct audits and to initiate recovery related

to billing code errors but not matters involving Medical Necessity:

           6.7     BCBSKC Right to Audit. Payor may conduct reasonably scheduled audits
           and/or reviews during Advent’s regular business hours. . . . Payor may recover or
           offset any amount related to billing code errors and other matters not involving
           Medical Necessity.

Agreement § 6.7 (emphasis added).

           20.      The Agreement also required BCBSKC to maintain the confidentiality of Advent’s

proprietary and confidential information:

           1.11 Confidentiality of Business Information. Each party recognizes that in the course
           of performance of this Agreement it may become aware of information that the other party
           deems confidential and/or proprietary and wishes to share outside its own organization only
           under limited circumstances or not at all. Each party agrees that it will not actively seek
           out such information, which includes, but is not limited to, discounts, negotiated rates, fee
           schedules and any other financial, marketing or contractual information that a party would
           reasonably know to be confidential information or a trade or proprietary secret, except to
           the extent reasonably necessary to allow the party to perform its duties under this

3
    “Advent Service” is not defined in the Agreement.
4
    Amendment One, § 14.

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           Agreement. In the event that a party becomes aware of such data or information, from
           whatever source or for whatever purpose, each party agrees that it shall hold such
           information to be confidential and shall not reveal such information to any third party for
           any purpose. Each party agrees that this Section 1.11 shall survive termination of the
           Agreement and shall inure to the benefit of the parties, their successors and permitted
           assigns. Advent agrees that it is responsible to educate its staff, and to be responsible for
           their conduct, with regard to obtaining and using confidential business information.

           21.      The Agreement requires that medical and treatment decisions will be made only by

Advent, not by BCBSKC or its agents: “Nothing shall be construed to give BCBSKC or any of

its . . . agents . . . the right to interfere with the prescribed care and treatment given by Advent to

Covered Individuals.”5

           22.      Although Section 10.6 of the Agreement contains an agreement to arbitrate

payment disputes, it deprives the arbitrators of any power to adjudicate disputes relating to the

discretion or medical judgment of either party:

           10.6.3 The arbitrators may construe or interpret but shall not vary or ignore the
           terms of this Agreement and shall be bound by controlling law, including
           administrative determinations. Moreover, where pursuant to the terms of this
           Agreement or governing law the disputed decision or determination is one which
           is committed to the discretion or medical judgment of either party, the arbitrators
           shall not disturb that decision or determination.

           Agreement § 10.6.3 (emphasis added).

           23.      For this reason, this Court and the Missouri Court of Appeals have previously found

such disputes are not subject to arbitration under the BCBSKC agreement. Manfredi v. Blue

Cross & Blue Shield of Kansas City, 340 S.W.3d 126, 129–30 (Mo. Ct. App. 2011).

           B.       Summary of Claim Submission Requirements and Audit/Appeal Procedures

           24.      Advent is required to submit claims in accordance with ICD-10-CM Official

Guidelines for Coding and Reporting under HIPAA standard transaction rules. 6



5
    Agreement, § 1.4.
6
    79 Fed. Reg. 45128 August 4, 2014.

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         25.        The Agreement, BCBSKC General Coding and Billing Policy, and Post Service

Claim Review Policy similarly require assigning diagnosis code(s) consistent with Covered

Individuals’ medical records.7

         26.        The Agreement allows BCBSKC to conduct reasonably scheduled audits to verify

services that were reported to BCBSKC, to verify Medical Necessity of Services and quality of

care, and recover or offset for billing errors, but the Agreement does not allow for offsets related

to Medical Necessity.8

         27.        Medical Necessity means services essential to the health of a Covered Individual

for the diagnosis or care and treatment of a medical or surgical condition. 9 Medical Necessity

requires a determination that services are appropriate for the symptoms, diagnosis, and treatment

of a medical condition and consistent with acceptable medical practice. 10

         28.        Upon receipt of a complete and accurate bill for a Covered Services, BCBSKC must

process the claim or transmit the claim for payment within 30 days in accordance with RSMo

§ 376.383. BCBSKC is required to timely notify Advent if a claim is incomplete. 11


7
   Agreement § 6.2, Post Service Claim Review Payment Policy POL-PP-212. BCBSKC has added, modified,
discarded, and altered dozens of policies, guides, manuals and other “guidance” and directives since the Agreement
was adopted more than 20 years ago. Advent does not concede that any such later-adopted policies or guides have
been properly incorporated into or become operative the terms of the Agreement and reserves all rights relating the
effectiveness or enforceability of any such policy or guideline. See State ex rel. Hewitt v. Kerr, 461 S.W.3d 798,
810-11 (Mo. 2015) (explaining that to incorporate terms outside of the contract, the contract must make clear reference
to documents and describe it in such terms that its identity may be ascertained beyond reasonable doubt); Dunn Indus.
Grp., Inc. v. City of Sugar Creek, 112 S.W.3d 421, 436 (Mo. 2003) (holding that mere reference to another document
does not establish a clear intent to incorporate the document); U.S. for Use of Lighting & Power Servs., Inc. v. Interface
Constr. Corp., 533 F.3d 1150, 1155 (8th Cir. 2009) (finding that under Missouri law a contract cannot incorporate by
reference a second contract that is not yet in existence).
8
   Agreement § 6.7. See also Post Service Claim Review Payment Policy POL-PP-212 “Claims being reviewed to
validate the correct diagnosis related group (DRG) assignment/payment (DRG validation audits).” BCBSKC’s
policies make no reference to clinical validation reviews.
9
  Agreement, Definitions.
10
   Id.
11
   Agreement§ 6.3.
12
   This “Provider Office Guide” has neither been made part of the parties’ Agreement (see supra note 7), nor does it
purport to apply to facilities as opposed to individual professionals, but is noted for illustrative purposes. Advent does
not concede the Provider Office Guide is enforceable against it and accordingly reserves all rights to challenge its
effectiveness and enforceability.

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         29.        RSMo § 376.384 prohibits health carriers from requesting a refund or offsetting

against a claim more than 12 months from the date of payment. Violations are subject to penalties

and interest.

         30.        BCBSKC’s Provider Office Guide explains “[BCBSKC] may initiate recovery

from you or offset against other claims [BCBSKC] received from you. [BCBSKC] will not pursue

recovery of an overpayment if the recovery is not initiated within 12 months of [BCBSKC’s]

payment.”

         31.        BCBSKC’s Post Claim Review Policy represents it is intended to “ensure that

billing is conducted in accordance with official guidelines for coding and reporting.” 12 With

respect to clinical validation audits, BCBSKC’s policy discusses its intent to address practices only

where there is an “absence of objective clinical information in the medical record to support a

medical condition.” Nothing in the policy notifies Advent of BCBSKC’s intent to unilaterally

deem clinical evidence insufficient to support a medical condition, nor to authorize BCBSKC to

determine what criteria justify any particular medical diagnosis.

         32.        Pursuant to the Agreement, if BCBSKC claims it has identified an overpayment

related to billing code errors, it may initiate a recovery or an offset, but not for matters involving

Medical Necessity.13 If Advent disagrees an overpayment has occurred, in whole or in part, Advent

may initiate a dispute. During the investigation of the dispute, the overpayment record will be

placed on hold to ensure BCBSKC does not perform an automatic recovery until the dispute is

resolved.14




12
   Post Service Claim Review Payment Policy POL-PP-212. See supra, note 7.
13
   Agreement § 6.7.
14
   BCBSKC Blue Medicare Advantage Provider Reference Guide 2021, page 77.

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           33.      For several years, BCBSKC, through its vendors, conducted numerous

unauthorized and improper clinical validation audits of Advent’s claims. These clinical validation

audits typically resulted in an opinion that an overpayment was made to Advent because

BCBSKC’s out-state, unlicensed audit contractor invalidated the medical diagnosis established by

Advent’s licensed healthcare providers, an action which by itself is unlawful, unethical and in

violation of the parties’ Agreement. When Advent appeals these audit findings through BCBSKC’s

(or its vendors’) internal appeals process, Advent’s appeals have been summarily and arbitrarily

rejected. Indeed, BCBSKC’s auditors market their services based, in part, on how uniformly they

uphold their own audit findings. As set forth more fully below, BCBSKC’s actions violate the

terms of the Agreement and state laws and public policy. For these reasons, Advent is entitled to

damages and injunctive relief.

           C.       Background Regarding Clinical Validation Audits

           34.      “Clinical validation” audits originated from a Medicare Statement of Work under

the Recovery Audit Contractor Program (the “RAC Program”) in 2011 in which Medicare defined

“clinical validation” as a clinical review of the case to determine whether or not the patient truly

possessed the conditions documented in the medical record, and clinical validation typically was

performed by a clinician (RN, MD, or therapist). “Clinical validation is beyond the scope of DRG

(coding) validation, and the expertise and licensure of a certified coder. This type of review may

only be performed properly by a clinician or may be performed by a clinician with approved

coding credentials.”15 Medicare currently prohibits its Recovery Audit Contractor (“RAC”)

reviewers from conducting clinical validation reviews.




15
     CMS RAC Statement of Work, 2011, ICD-10-CM Coding Clinic 2016 Quarter 4, pages 147-149.

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         35.        DRG validation is a review process to confirm billing codes are submitted in

accordance with transaction code set standards 16 DRG validation is based on accepted principles

of coding practice, consistent with guidelines established for International Classification for

Disease (“ICD”) coding, the Uniform Hospital Discharge Data Set data element definitions. 17

Under a DRG validation and these industry coding rules, “diagnosing a patient’s condition is solely

the responsibility of the provider. Only the physician, or other qualified healthcare practitioner

legally accountable for establishing the patient’s diagnosis can ‘diagnose’ the patient.” 18 “Coding

must be based on provider’s documentation.”19 Diagnosis codes are “based on his/her

documentation, not on a particular clinical definition or criteria.” 20 “For example, if the physician

documents sepsis, and the coder assigns the code for sepsis, and a clinical validation review later

disagrees with the physician’s diagnosis, that is a clinical issue, but it is not a coding error.”

(emphasis added)21 BCBSKC’s auditors describe their reviews as “Clinical Chart Validation” and

function as clinical validation reviews—acknowledging physician documentation of medical

diagnoses but disagreeing with the treating physician’s diagnosis.

                    1.    ICD-10-CM Official Guidelines for Coding and Reporting

         36.        The ICD-10-CM Official Guidelines for Coding and Reporting FY 2021

(October 1, 2020 – September 30, 2021) (“ICD-10-CM Official Guidelines”) state that code

assignment is based on the documentation by the patient’s provider (i.e., physician or other

qualified healthcare practitioner legally accountable for establishing the patient’s diagnosis). “The

assignment of a diagnosis code is based on the provider’s diagnostic statement that the condition


16
    See CMS Pub. 100-08 Ch. 3, Section 6.5.3; American Hospital Association Coding Clinic 2016, Quarter 4,
pages 147-149.
17
   See CMS Pub. 100-08 Ch. 3, Section 6.5.3.
18
   American Hospital Association Coding Clinic 2016, Quarter 4, pages 147-149. (emphasis added).
19
   Id.
20
   Id.
21
   Id.

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exists. The provider’s statement that the patient has a particular condition is sufficient. Code

assignment is not based on clinical criteria used by the provider to establish the diagnosis.”22

         37.        Under billing code rules, “as long as [the condition] is documented, regardless of

how the diagnosis was arrived at, the code for [the condition] can be assigned”. 23

         38.        If a physician documents a condition, the hospital medical coder assigns a diagnosis

code for the condition, then later a clinical validation auditor disagrees with the physician’s

diagnosis—that is a clinical issue but is not a billing code error. 24

                    2.     Coverage Decisions Under Medicare and Medicare Advantage

         39.        Many of BCBSKC’s clinical validation audits have audited Advent claims for

services rendered to members of Medicare Advantage plans.

         40.        Medicare Advantage Organizations (MAOs, or ‘MA Plans’) are required to cover

and pay for basic Medicare benefits for their members, and must do so in a manner that is no more

restrictive than traditional Medicare, including the type or level of service. Effective at the very

least for services beginning in 2024, MA Plans cannot create policies that dictate specific

definitions of diagnoses unless those criteria meet certain limited parameters. 25 Those parameters

include making coverage criteria publicly available and based upon widely used treatment

guidelines, or upon high quality clinical literature.

         41.        Traditional Medicare covers hospital inpatient services at the level described by

various DRGs, which are determined by reporting diagnosis and procedure codes in accordance

with ICD-10-CM Official Guidelines for Coding and Reporting and healthcare professional

documentation in the medical record.


22
   ICD-10-CM Official Guidelines for Coding and Reporting Section I.A.19.
23
   ICD-10-CM Coding Clinic 2016 Quarter 4, pages 147-149.
24
   ICD-10-CM Coding Clinic 2016 Quarter 4, pages 147-149.
25
   42 C.F.R. 422.101; See generally 88 Fed. Reg. 22120 (April 2023).

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         42.        Medicare does not dictate specific definitions of medical diagnoses, nor does

traditional Medicare perform clinical validation reviews of hospital claims.

         43.        Medicare currently even prohibits RAC reviewers from conducting clinical

validation reviews entirely.26

         44.        Outside of the RAC Program, CMS only permits validation of inpatient DRGs by

“reviewing the medical record for medical necessity and DRG validation.” 27 The purpose of DRG

validation is to ensure that diagnostic and procedural information and the discharge status of the

beneficiary, as coded and reported by the hospital on its claim, matches both the attending

physician’s description and the information contained in the beneficiary’s medical record. 28

Clinical validation is distinct and separate from DRG validation. Under the Medicare program,

then, any permissible review of an inpatient DRG other than DRG validation is a review for

medical necessity.

         45.        MA plans may create their own billing and payment procedures as long as all

providers are paid accurately, timely, and with an audit trail. 29 However, MA plans’ creation of

coverage criteria is subject to limitations under federal regulations.

         46.        Coverage decisions for Medicare Advantage plans are any determination (i.e., an

approval or denial) made by an MA Plan, or its delegated entity, with respect to the following:

         A.         Payment for any other health services furnished by a provider (other than
                    the MA Plan), that the enrollee believes are covered under Medicare, or if
                    not covered under Medicare, should have been furnished, arranged for, or
                    reimbursed by the MA Plan;




26
   See CMS Inpatient Advent MS-DRG Coding Validation Issue Name 0001 - Inpatient Advent MS - DRG Coding
Validation.
27
   IOM 100-08 Chapter 6, Section 6.5.3.
28
   IOM 100-08 Chapter 6, Section 6.5.3.
29
    Some Medicare Advantage Organization Denials of Prior Authorization Requests Raise Concerns About
Beneficiary Access to Medically Necessary Care" (OEI-09-18-00260) (hhs.gov).

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         B.         Refusal to authorize, provide, or pay for services, in whole or in part,
                    including the type or level of services, which the enrollee believes should
                    be furnished or arranged by the MA Plan30;

         C.         Reduction, or premature discontinuation, of a previously authorized
                    ongoing course of treatment; or

         D.         Failure of the MA Plan to approve, furnish, arrange for, or provide
                    payment for health care services in a timely manner, or to provide timely
                    notice of an adverse determination, such that a delay would adversely affect
                    the health of the enrollee.31

         47.        In accordance with 42 C.F.R. §§ 422.562(a)(4) and 423.562(a)(5), all MA Plans

must employ a medical director who is responsible for ensuring the clinical accuracy of all

coverage decisions made by the plan that involve medical necessity.

         48.        Payment requests from a provider (claims for reimbursement) for a service already

delivered to a patient is a request for a coverage determination, and the MA Plan’s resulting

decision to pay, or deny payment, of the provider’s claim – in whole or in part – is a coverage

determination.32

         49.        The MA Plan’s decision to approve or deny the payment request must be consistent

with applicable rules for Medicare coverage and MA Plan billing. 33

         50.        If an MA Plan expects to issue a partially or fully adverse medical necessity (or any

substantively equivalent term used to describe the concept of medical necessity) decision based on

the initial review of the request, that determination must be reviewed by a physician or other




30
   42 C.F.R. § 422.566(b)(3).
31
    Parts C&D Enrollee Grievances, Organization/Coverage Determination, and Appeals Guidance (cms.gov)
Section 40.1.
32
    Some Medicare Advantage Organization Denials of Prior Authorization Requests Raise Concerns About
Beneficiary Access to Medically Necessary Care (OEI-09-18-00260) (hhs.gov).
33
    Some Medicare Advantage Organization Denials of Prior Authorization Requests Raise Concerns About
Beneficiary Access to Medically Necessary Care (OEI-09-18-00260) (hhs.gov).

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appropriate healthcare professional with expertise in the field of medicine or healthcare that is

appropriate for the services at issue, including knowledge of Medicare coverage criteria. 34

         51.        Providers may request a copy of the contents of the case file at any point during the

appeals process.35

                    3.     State Law Restrictions on the Practice of Medicine

         52.        In Missouri, “[i]t shall be unlawful for any person not now a registered physician

within the meaning of the law to practice medicine or surgery in any of its departments, to engage

in the practice of medicine across state lines or to profess to cure and attempt to treat the sick and

others afflicted with bodily or mental infirmities, or engage in the practice of midwifery in this

state, except as herein provided.” RSMo § 334.010.

         53.        For the purposes of RSMo § 334.010, the “practice of medicine across state lines”

shall include “[t]he rendering of a written or otherwise documented medical opinion

concerning the diagnosis or treatment of a patient within this state by a physician located

outside this state as a result of transmission of individual patient data by electronic or other means

from within this state to such physician or physician’s agent.” (emphasis added).

         54.        Similarly, in Kansas, the practice of medicine includes the diagnosis of human

disease.36 It is further unlawful in Kansas for any individual or organization performing utilization

review to be compensated or receive compensation which is contingent in any way upon frequency

of certification denials, costs avoided by denial or reduction in payment of claims or other results




34
   42 C.F.R. § 422.566(d).
35
    Parts C&D Enrollee Grievances, Organization/Coverage Determination, and Appeals Guidance (cms.gov)
Section 50.5.2.
36
   K.S.A. § 65-28,133.

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which may be adverse to the needs of the patient as determined by the attending healthcare

provider. 37

           D.       BCBSKC’s Clinical Validation Audits

           55.      Upon information and belief, BCBSKC’s clinical validation audit process has been

in place since approximately 2013.

           56.      When a diagnosis is deemed clinically invalid as a result of a clinical validation

audit, the DRG that BCBSKC will pay is recalculated as though the original medical diagnosis

never existed. The resulting DRG has a lower weight and corresponding Payment Rate than the

DRG reported on Advent’s claim. The difference in payment reflects a refusal to cover and to pay

for the incrementally more complex services associated with the DRG than Advent originally

reported. BCBSKC’s resulting decision represents a determination that the patient does not have

a diagnosis to support the medical necessity of services described by the DRG than Advent

originally and correctly reported based upon the treating physician’s determination.

           57.      Prior to 2024, BCBSKC used a vendor, Cotiviti, based in New Jersey, to perform

clinical validation audits. Since 2024, BCBSKC has used a vendor, Apixio (now called

Machinify), based in Pennsylvania, to perform clinical validation audits of Advent’s patients’

medical diagnoses in Missouri and Kansas.

           58.      In their audits, both Cotiviti and Apixio generally admit that the condition at issue

has been documented in the medical record by a physician or other healthcare professional whose

scope of practice includes establishing diagnoses. Nonetheless, Cotiviti and Apixio, on behalf of

BCBSKC, opine on the validity or invalidity of the physicians’ medical diagnoses for Advent’s

patients. For example, Cotiviti frequently rendered its written opinion surrounding the invalidity



37
     K.S.A. § 40-22a07(a)(2).

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of a medical diagnosis, explaining “upon further investigation, the diagnosis of [condition] was

not substantiated clinically” or “there was insufficient clinical evidence to substantiate this

condition.” Similarly, Apixio’s written opinions surrounding the invalidity of a medical diagnosis

explain “the clinical picture is inconsistent with the presence of [condition].”

         59.        Upon information and belief, BCBSKC allowed and/or incentivized its vendors to

establish and apply the vendors’ own parameters to dictate specific definitions of medical

diagnoses and has accepted its vendors’ written opinions surrounding invalidity of Advent’s

medical diagnoses. Upon information and belief, BCBSKC relies almost entirely on its vendors’

diagnostic findings, and such findings are not reviewed by a licensed physician.

         60.        BCBSKC failed and refused to make its vendors’ review criteria or parameters

dictating specific definitions of medical diagnoses available to Advent prior to imposing those

criteria on claims retrospectively.

         61.        In addition, BCBSKC shared and disclosed Advent’s Confidential Information,

protected from disclosure by the parties’ Agreement, to its vendors, without consent or permission,

and without disclosing to Advent the terms of the agreements between BCBSKC and its vendors,

or any protections in such agreements from further sharing of Advent’s Confidential Information.

                    1.     BCBSKC’s Reviewers Are Not Physicians

         62.        Cotiviti, a New Jersey vendor, has audited and opined on the invalidity of numerous

of Advent’s medical diagnoses. Cotiviti routinely acknowledged its audits were merely performed

under the supervision of, but not by, “medical directors.” Neither BCBSKC nor Cotiviti has

disclosed its contract, the criteria used in its audits, the qualifications of the personnel making these

diagnoses, the extent to which artificial intelligence (AI) is used in its processes, nor the financial

terms and incentives in its agreements. Cotiviti’s written determinations opining on the validity or

invalidity of medical diagnoses are unsigned and do not identify the person (or device) who or

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which concluded that treating professionals’ medical diagnoses were invalid, who or which

recommended BCBSKC reduce Advent’s payments below the Payment Rate, and who rejected

Advent’s appeals. BCBSKC failed to provide and refused to obtain and distribute Cotiviti’s

specific definitions of medical diagnoses to Advent.

         63.        Apixio, a Pennsylvania vendor rebranding itself as “Machinify,” markets itself as

an AI payment integrity vendor. Since 2024, Apixio, on behalf of BCBSKC, has audited numerous

of Advent’s medical diagnoses, supplanted these diagnoses with its own diagnoses, or disregarded

medical diagnoses entirely when reaching its opinions on the validity or invalidity of medical

diagnosis. Neither BCBSKC nor Apixio has disclosed its contract, the criteria used in its audits,

the qualifications of the personnel making these diagnoses, the extent to which artificial

intelligence (AI) is used in its processes, nor the financial terms and incentives in its agreements.

Apixio’s written opinions are anonymous and do not provide a contact name or identify the person

(or device) which concluded that treating professionals’ medical diagnoses were invalid, who

recommended BCBSKC reduce Advent’s payments below the Payment Rate, and who denied

Advent’s appeals. BCBSKC failed and refused to provide Apixio’s specific definitions of medical

diagnoses to Advent.

         64.        Because Cotiviti’s and Apixio’s audits focused only on methods and strategies to

remove or ignore diagnoses, BCBSKC’s acceptance of Cotiviti’s and Apixio’s opinions

surrounding the invalidity of medical diagnoses results in BCBSKC wrongfully paying Advent at

a rate lower than the Payment Rate for the DRG that Advent accurately reported.

         65.        Upon information and belief, neither Cotiviti nor Apixio has ever performed an

audit leading to a finding that Advent physicians missed an opportunity to capture a diagnosis code

on claim reporting or recommended that Advent be paid at a rate for a more complex DRG. Nor



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have their clinical validation audits identified clinically invalid diagnoses for any conditions that

would have no effect on payment to Advent. Their exclusive focus on MCCs and CCs appears

intentionally and strategically designed for the sole purpose of BCBSKC escaping responsibility

to remit the full Payment Rate for the DRG Advent reports for reimbursement.

         66.        Apixio heavily markets itself as an AI payment integrity solution. In fact, it

characterizes its clinical chart reviews as “AI-as-a-Service”:




         67.        Apixio’s marketing portrays an aggressive payor-focused approach, suggesting a

staggering 60% of the hospital stays it reviews include clinically invalid medical diagnoses.

In other words, Apixio opines for its clients that licensed physicians erroneously diagnose patients

in 60% of hospital inpatient stays Apixio reviews.

         68.        Apixio boasts 99% “sustainability,” indicating that Apixio refuses to change its

decision upon hospitals’ appeals 99% of the time.

         69.        Apixio not only concedes the perfunctory nature of its audits, but markets its hasty

reviews as a selling point, stating in its marketing materials that it “effortlessly conducts complex

claims reviews in minutes, not days, with the support of an integrated platform that harnesses . . .

AI-driven automated workflows.”




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         70.        Apixio often “insta-denies” Advent’s appeals. When Advent’s appeals are

uploaded into Apixio’s portal, a response maintaining its denial is returned momentarily, even in

high-dollar, complex appeals numerous pages in length. Decisions on Advent’s appeals rarely

reflect a meaningful analysis and generally ignore the factual and legal grounds set forth in

Advent’s appeals, almost never involve any human contact or discussion between the parties.




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Neither Apixio nor Cotiviti have discussed their new            medical diagnoses with the treating

professionals before usurping a medical diagnosis with their own opinion.

         71.        BCBSKC’s vendors’ reviews often contain factually inaccurate clinical findings

when compared to the actual medical record. For example, one inpatient chart was reviewed to

assess the clinical validity of the patient’s diagnosed and billed acute respiratory failure. The

vendor’s determination letter states “there were no dated oxygen saturations less than 90%.” This

was the only reason given for suggesting acute respiratory failure was a clinically invalid

diagnosis. Advent pointed out BCBSKC’s vendor’s error when Advent appealed, noting “SpO2

82% at home per EMS, treated with up to 4L nasal cannula, and respiratory rate as high as 26.”

Without any evidence supporting its opinion, BCBSKC’s vendor suggested the patient’s

respiratory status “must also be present during the patient’s hospital stay to be coded on the claim.”

None of the references BCBSKC’s vendor cites support this conclusion.

                    2.     BCBSKC Improperly Incentivizes Its Reviewers

         72.        It is unknown how BCBSKC compensates its audit vendors, formerly Cotiviti and

currently Apixio/Machinify. Cotiviti, the primary third-party reviewer formerly engaged by

BCBSKC to perform reviews of Advent’s DRG assignments, is a well-known contractor under the

Medicare Recovery Audit Contractor program through which it is paid a contingency or incentive

based of the amount of “overpayments” it claims to have identified.. Nor is it known how Cotiviti

and Apixio/Machinify compensate or incentivize their employed or contracted reviewers to render

decisions.

         73.        Missouri law establishes requirements and limitations for health plans that perform

utilization review.




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         74.        Under Missouri Law, utilization review must be based upon documented clinical

review criteria based upon sound clinical evidence. 38 Before any adverse determination is made, a

licensed clinical peer must evaluate the decision’s appropriateness.

         75.        Under Missouri law, compensation to persons providing utilization review services

for a health carrier shall not contain direct or indirect incentives for such persons to make medically

inappropriate review decisions. Compensation to any such persons may not be directly or

indirectly based on the quantity or type of adverse determinations rendered. 39

         76.        Because BCBSKC’s vendors’ findings reflect a decision that requested payment

for the reported DRG level of care will be denied or reduced, BCBSKC’s findings represent a

utilization review decision. As such, they must be based on sound clinical evidence and be made

by a licensed clinical peer.

         77.        Upon information and belief, BCBSKC’s compensation or incentives to its vendors

and/or its vendors’ compensation or incentives to their employed or contracted reviewers, contain

direct or indirect incentives for such persons to make medically inappropriate review decisions

that contribute to adverse clinical validation review findings.

                    3.     BCBSKC’s Opinions Invalidating Medical Diagnoses Are Not Based on
                           Appropriate Diagnostic Criteria

         78.        In the parties’ Agreement, BCBSKC agrees to comply with applicable law. 40 Under

Missouri law, utilization review programs shall use documented clinical review criteria that are

based on sound clinical evidence. 41 In Kansas, clinical review criteria must be written; based on

professional practice; literature-based; consistently applied; and reviewed, at a minimum, annually




38
   RSMo § 376.1361.1.
39
   RSMo § 376.1361.
40
   Agreement at 10.9.
41
   RSMo § 376.1361.

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by actively practicing physicians and other providers with current relevant knowledge. 42 Under

federal regulations for the Medicare Advantage program, MA Plans are only authorized to adopt

criteria which purport to establish specific definitions of diagnoses if the criteria at 42 C.F.R.

§ 422.101(b)(6) are followed.43 MA organizations may only adopt such criteria if the criteria are

publicly accessible, based on current evidence in widely used treatment guidelines or clinical

literature.44

         79.        BCBSKC has not informed Advent of any policy, procedure, rule or regulation

establishing diagnostic criteria for any medical condition which, if not met, would purport to

authorize BCBSKC to disregard physicians’ diagnoses. BCBSKC has not informed Advent of any

policy, procedure, rule or regulation that BCBSKC will use the results of clinical validation audits

to modify federally mandated ICD-10-CM Official Guidelines for Coding and Reporting and alter

Advent’s Payment Rates. BCBSKC has not adopted or communicated criteria establishing specific

definitions for medical diagnoses that comply with state and federal law.

         80.        If BCBSKC reviewed the criteria its vendors Cotiviti and Apixio routinely apply to

Advent’s claims, BCBSKC failed to ensure its vendors’ criteria were valid or properly applied.

         81.        The medical diagnoses most frequently targeted by BCBSKC and its vendors for

retrospective invalidation include, but are not limited to, sepsis, acute respiratory failure, acute

congestive heart failure, acute kidney failure, severe protein calorie malnutrition, metabolic

acidosis, encephalopathy, hyponatremia, pneumonia, and acute blood loss anemia. Yet, BCBSKC



42
   K.A.R. § 40-4-41, adopting the Kansas insurance department’s “policy and procedure relating to health utilization
management standards,” dated March 22, 2016, pp. 10, 12, 71.
43
   88 Fed. Reg. 22120, 22202 (April 12, 2023).
44
   42 C.F.R. § 422.101(b)(6). Notably, current, widely used treatment guidelines are those developed by organizations
representing clinical medical specialties and refer to guidelines for the treatment of specific diseases or conditions.
Acceptable clinical literature includes large, randomized control trials or prospective cohort studies with clear results,
published in a peer-reviewed journal, and specifically designed to answer the relevant clinical question, or large
systematic reviews or meta-analyses summarizing the literature of the specific clinical question. 44

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has never identified or disclosed a single consensus definition of clinical criteria that define these

diagnoses.

         82.        BCBSKC either created and instructed its vendors to apply criteria that BCBSKC

never disclosed to Advent, or BCBSKC adopted its vendors’ definitions of medical diagnoses.

Under either circumstance, BCBSKC neglected to ensure its vendors even applied those

non-binding, undisclosed definitions accurately or consistently.

         83.        Advent repeatedly raised concerns with Cotiviti’s and Apixio’s unsupported

approaches in Advent’s appeals, but Cotiviti’s and Apixio’s decisions to invalidate medical

diagnoses based upon unsupported criteria went unchecked by BCBSKC, and nearly all of

Advent’s appeals were rejected.

         84.        The references BCBSKC’s vendors cite as authority for their own opinions on the

diagnoses of the Advent’s patients are generally unsuitable as the basis for the vendors’ clinical

decisions, even assuming these vendors could lawfully make such decisions. BCBSKC’s clinical

validation audits utilize false, misleading and unsupportable justification for rejecting Advent’s

medical diagnoses, and for denying Advent payment for its services.

                                            COUNT I
                                       BREACH OF CONTRACT

         85.        Advent incorporates by reference paragraphs 1-84 above as if fully restated herein.

         86.        The Agreement, as amended, is a valid and enforceable contract.

         87.        Under the Agreement, BCBSKC is required to pay Advent the Payment Rate for

Covered Services.

         88.        The Agreement precludes BCBSKC from attempting to recoup payments based on

Medical Necessity.




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         89.        Over the past several years, BCBSKC, through its vendors, conducted several

“Clinical Chart Validation Reviews.” These Clinical Chart Validation Reviews typically resulted

in a determination that an overpayment was made to Advent because BCBSKC paid Advent at a

rate inconsistent with the DRG Advent billed. BCBSKC’s modified payment is based on its

vendors’ recommendation to ignore documented medical diagnoses—the removal of which is

unlawful, unethical and inconsistent with the Agreement. These vendors, with unknown

credentials and who were not present for the evaluation, diagnosing, planning, and treatment of

the patient—assigned and/or removed medical diagnoses from consideration for payment.

         90.        The parties are mandated by federal statutes and regulations to adopt and to follow

HIPAA standard code sets for electronic claims transactions. ICD-10-CM is the

HIPAA-designated code set for the diagnosis of hospital services.

         91.        At all times pertinent to this matter, the ICD-10-CM Official Guidelines for Coding

and Reporting FY 2021 stated:

         code assignment is based on the documentation by the patient’s provider (i.e.,
         physician or other qualified healthcare practitioner legally accountable for
         establishing the patient’s diagnosis). There are a few exceptions[.]However, the
         associated diagnosis (such as overweight, obesity, acute stroke, or pressure ulcer
         must be documented by the patient’s provider). If there is conflicting medical record
         documentation, either from the same clinician or different clinicals, the patient’s
         attending provider should be queried for clarification.

         92.        BCBSKC’s engagement of audit vendors who applied policies, procedures, rules

or regulations against which BCBSKC intended to hold Advent responsible, without providing

any such policies, procedures, rules or regulations surrounding specific definitions of medical

diagnoses to Advent in advance, is a breach of the parties’ Agreement.

         93.        BCBSKC’s improper adoption of its contractor’s unlawful opinions to invalidate a

medical diagnosis is in breach of the Agreement, including, but not limited to,

recovering/offsetting amounts it alleges have been overpaid which involve Medical Necessity

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(Agreement § 6.3), violating applicable law, including state law practice of medicine requirements,

and exceeding the statutory lookback period of 12 months from the date of payment (Agreement

§ 10.9).

         94.        To date, BCBSKC has offset or recouped more than 300 claims based on

inappropriate “Clinical Validation” audits.

         95.        On information and belief, BCBSKC has breached the Agreement’s confidentiality

provisions by disclosing Advent’s Confidential Information to various clinical validation vendors.

         96.        As a result of BCBSKC’s breaches of the Agreement, Advent to date has suffered

damages in excess of $2 million exclusive of prejudgment interest, in a final amount to be proven

at trial. In addition, Advent also suffers ongoing irreparable harm caused by BCBSKC’s

interference with physicians’ diagnoses, its unlawful practice of medicine or aiding and abetting

in the unlawful practice of medicine, and its deceptive practices

                               COUNT II
       BREACH OF THE IMPLIED DUTY OF GOOD FAITH AND FAIR DEALING

         97.        Advent incorporates by reference paragraphs 1-96 above as if fully restated herein.

         98.        ‘“[A]ll contracts have an implied covenant of good faith and fair dealing’ [and t]o

establish a breach of the covenant of good faith and fair dealing, the plaintiff has the burden to

establish that the defendant ‘exercised a judgment conferred by the express terms of the agreement

in such a manner as to evade the spirit of the transaction or so as to deny [the plaintiff] the expected

benefit of the contract.’” Lucero v. Curators of Univ. of Mo., 400 S.W.3d 1, 9-10 (Mo. Ct. App.

2013) (first quoting Glenn v. HealthLink HMO, Inc., 360 S.W.3d 866, 877 (Mo. Ct. App. 2012);

then quoting Mo. Consol. Health Care Plan v. Cmty. Health Plan, 81 S.W.3d 34, 46 (Mo. Ct. App.

2002)). The party claiming breach must have substantial evidence that it has been violated. Id. The

Missouri Court of Appeals has found


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         The phrase “good faith” is used in a variety of contexts, and its meaning varies
         somewhat with the context. Good faith performance or enforcement of a contract
         emphasizes faithfulness to an agreed upon common purpose and consistency with
         the justified expectations of the other party; it excludes a variety of types of conduct
         characterized as involving “bad faith” because they violate community standards
         of decency, fairness and reasonableness. . . .

         ...

         . . . Subterfuges and evasions violate the obligation of good faith in performance
         event though the actor believes his conduct to be justified. But the obligation goes
         further: bad faith may be overt or may consist of inaction, and fair dealing may
         require more than honesty. A complete catalogue of types of bad faith is impossible,
         but the following types are among those which have been recognized in judicial
         decisions: evasion of the spirit of the bargain, lack of diligence and slacking off,
         willful rendering of imperfect performance, abuse of power to specify terms, and
         interference with or failure to cooperate in the other party’s performance.

Mo. Consol. Health Care Plan, 81 S.W.3d at 47 (quoting RESTATEMENT (SECOND) OF

CONTRACTS § 205 cmts a and d (Am. Law Inst. 1981)) (emphasis added). See BJC Health

Sys. v. Columbia Cas. Co., 478 F.3d 908, 914-15 (8th Cir. 2007) (summarizing good faith and fair

dealing and explaining that financial self-interest will not excuse a party from performing its

contractual obligations in good faith and fair dealing).

         99.        BCBSKC’s clinical validation reviews are unauthorized and improper and are in

breach of the implied duty of good faith and fair dealing under Missouri law and in addition breach

BCBSKC’s duty of confidentiality under the Agreement.

         100.       As a direct and proximate result of BCBSKC’s actions, Advent has suffered

damages in excess of $2 million exclusive of prejudgment interest, in a final amount to be proven

at trial. In addition, Advent also suffers ongoing irreparable harm caused by BCBSKC’s breach of

the duty of good faith and fair dealing.

                                             COUNT III
                                          QUASI CONTRACT

         101.       Advent incorporates by reference paragraphs 1-100 above as if fully restated herein.


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         102.       Advent enriched BCBSKC by providing legitimate and beneficial services to

BCBSKC through the provision of medically necessary services to BCBSKC’s members.

         103.       BCBSKC’s enrichment includes, but is not limited to, an enhanced reputation in

the community, an enhanced relationship with its Members, an enhanced ability to meet and

discharge its contractual obligations to its Members.

         104.       BCBSKC requested – either expressly or impliedly – that Advent provide such

services to BCBSKC and its members.

         105.       BCBSKC acquiesced to receiving Advent’s services on behalf of itself and its

members.

         106.       The services Advent provided BCBSKC had a reasonable value, in an amount to

be proven at trial. Advent incurred this amount as an expense.

         107.       BCBSKC has failed and refused to pay for any portion of the services Advent

provided to BCBSKC and its members.

         108.       BCBSKC has asserted it had no contractual obligation to pay and – despite

Advent’s demands – used BCBSKC’s clinical validation audits to breach the Agreement’s

confidentiality and other provisions. Further, BCBSKC’s conduct allowed unapproved contractors

to issue unlawful medical diagnoses relating to BCBSKC’s members.

         109.       As a direct and proximate result, BCBSKC has been unjustly enriched, and in

fairness and justice, BCBSKC is obligated to pay the balance of its unjust enrichment and

associated costs, in amounts to be proven at trial.

         110.       BCBSKC is obligated to pay the reasonable and customary value of the services

Advent provided to BCBSKC and its members.




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                                        COUNT IV
                                PERMANENT INJUNCTIVE RELIEF

         111.       Advent incorporates by reference paragraphs 1-110 above as if fully restated herein.

         112.       For the above reasons, Advent has no adequate remedy at law for the ongoing

violation of its rights under the Agreement and applicable law

         113.       The injuries Advent will continue to suffer from BCBSKC’s continuing illegal

conduct outweigh any potential harm to BCBSKC from being enjoined to abide by the terms and

conditions of the Agreement and to cease its illegal conduct. The balance of the equities favors

Advent.

         114.       The public interest will be served by an injunction prohibiting BCBSKC from

engaging in the illegal and deceptive patterns and practices described herein.

         115.       Consequently, Advent prays for a permanent injunction ordering BCBSKC to:

                    a.     Comply with the Agreement;

                    b.     Pay Advent for Covered Services in accordance with the Payment Rate for

                           DRGs billed by Advent and supported by diagnoses documented in the

                           medical record;

                    c.     Cease actions to recoup, offset or otherwise take payments from Advent

                           based on Medical Necessity, or altering or rejecting the medical diagnoses

                           of Advent’s physicians; and

                    d.     Cease conducting Clinical Validation audits, cease providing Advent’s

                           Confidential Information to BCBSKC vendors.

                                         PRAYER FOR RELIEF

         WHEREFORE, Advent prays the Court enter judgment as follows:



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         a)         An award of damages to Advent based on BCBSKC’s breach of contract or unjust

enrichment, and for breach of duty of good faith and fair dealing;

         b)         An injunction preventing BCBSKC from continuing its Clinical Validation audits

and/or denying reimbursement for claims based on clinical validation principles or Medical

Necessity determinations or by rejecting valid medical diagnoses from Advent’s physicians, and

preventing BCBSKC from continuing to disclose Advent’s Confidential Information to third

parties without permission or consent;

         c)         Prejudgment interest, pursuant to Missouri law, as well as post-judgment interest;

         d)         Costs and expenses and reasonable attorneys’ fees, costs and expenses; and

         e)         Any other relief that the Court deems just and proper.

                                                 KUTAK ROCK LLP

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                                                 2405 Grand Blvd., Suite 600
                                                 Kansas City, MO 64108
                                                 Tel: 816-960-0900
                                                 Fax: 816-960-0041
                                                 Courtney.Koger@KutakRock.com

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                                                 Suzanne M. Shehan (pro hac vice forthcoming)
                                                 The Omaha Building
                                                 1650 Farnam Street
                                                 Omaha, NE 68102
                                                 Tel: 402-346-6000
                                                 Thomas.Kenny@KutaRrock.com
                                                 Suzanne.Shehan-ames@KutakRock.com

                                                 Attorneys for Plaintiff Shawnee Mission Medical
                                                 Center, Inc., d/b/a AdventHealth Shawnee Mission




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                                                                               2516-CV20838

                    IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                 AT KANSAS CITY, MISSOURI


SHAWNEE MISSION MEDICAL CENTER,
INC. (d/b/a ADVENTHEALTH SHAWNEE
MISSION),
                Plaintiff,
                                                   Case No.
         v.
                                                   Division No.
BLUE CROSS AND BLUE SHIELD OF
KANSAS CITY,

                       Defendant.


    PLAINTIFF’S MOTION FOR APPOINTMENT OF SPECIAL PROCESS SERVER

         Plaintiff Shawnee Mission Medical Center, Inc., d/b/a AdventHealth Shawnee Mission

(“Advent”) moves for the appointment of HPS Process Service & Investigations as private process

servers in the above-captioned matter:

                   Tracy Arnold      Pamela Huffman           Nathaniel Scott
                   Dianna Blea       Martin Hueckel           Grant Selvey
                   Richard Blea      Michael McMahon          Katie Shiflett
                   Alexander Blea    Jeffrey Nichols          Brian Smith
                   Grace Hazell      Diana Nichols            Shelby Stauble
                   Michael Hibler    Aubrianna Nichols        Robert E. Vick, II
                   Trinity Hibler    Christopher Reed         Brad Votaw
                   Jenna Holt        Cheryl Richey            Stephen Waters
                   Michael Huffman   David Roberts            Nick Zotti




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                                         KUTAK ROCK LLP


                                         s/ M. Courtney Koger
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                                         Fax: 816-960-0041
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                                         Thomas J. Kenny (pro hac vice forthcoming)
                                         Suzanne M. Shehan (pro hac vice forthcoming)
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                                         Omaha, NE 68102
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                                         Thomas.Kenny@KutaRrock.com
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4908-8327-7394.1
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                                                                                                                    Electronically Filed - JACKSON - KANSAS CITY - July 02, 2025 - 11:51 AM
                               IN THE CIRCUIT COURT OF JACKSON COUNTY
                                        AT KANSAS CITY, MISSOURI

SHAWNEE MISSION MEDICAL
CENTER, INC.                      )
      Plaintiff/Petitioner,       )
VS.                               )                 Case No.:2516-CV20838
                                  )
BLUE CROSS AND BLUE               )
SHIELD OF KANSAS CITY             )                 Division No.:8
       Defendant/Respondent.      )

                  AMENDED MOTION FOR APPOINTMENT OF PRIVATE PROCESS SERVER
COMES NOW Plaintiff, by and through counsel, and pursuant to Local Rule 4.9 of Jackson County Court Rules, hereby
moves for the appointment of HPS Process Service & Investigations, Inc.:


                                                              Keith            Blanchard        PPS25-0149
 William           Acree              PPS25-0134
                                                              Eddie            Bland            PPS25-0150
 Paul              Aizel              PPS25-0135
                                                              Diana            Blea             PPS25-0151
 Mark              Allen              PPS25-0136
                                                              Richard          Blea             PPS25-0152
 Sandra            Allen              PPS25-0137
                                                              Thomas           Bogue            PPS25-0153
 Tracy             Arnold             PPS25-0138
                                                              Raymond          Brandy           PPS25-0154
 Jeffrey           Aronson            PPS25-0321
                                                              Kathy            Broom            PPS25-0155
 Brian             Bankowski          PPS25-0139
                                                              James            Burke            PPS25-0379
 Tarah             Beaulieu           PPS25-0140
                                                              Gary             Burt             PPS25-0156
 Richard           Benito             PPS25-0141
                                                              Adam             Burton           PPS25-0157
 Brenda            Benoit             PPS25-0142
                                                              Steve            Butcher          PPS25-0380
 Allison           Bernardo           PPS25-0143
                                                              Veronica         Calderon         PPS25-0158
 Daniela           Bert               PPS25-0144
                                                              Karen            Calkins          PPS25-0159
 Mathew            Bert               PPS25-0145
                                                              Bobby            Calvert          PPS25-0160
 David             Biddle             PPS25-0146
                                                              Anna             Canole           PPS25-0161
 Nicholas          Bill               PPS25-0147
                                                              Justin           Carlson          PPS25-0162
 Bryan             Blair              PPS25-0148
                                                              Charles          Casey            PPS25-0163



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 Gina              Cash           PPS25-0164         Randy         Earl            PPS25-0188

 George            Castillo       PPS25-0165         Courtney      Edwards         PPS25-0189

 Lori              Cole           PPS25-0166         Christopher   Eixenberger     PPS25-0190

 Krehl             Coleman        PPS25-0167         Sheri         Eixenberger     PPS25-0191

 Susan             Collins        PPS25-0168         Abel          Emiru           PPS25-0192

 Chad              Compton        PPS25-0169         Donald        Eskra Jr.       PPS25-0193

 James             Cox            PPS25-0018         Cindy         Ethridge        PPS25-0031

 Kimberley         Cox            PPS25-0171         Larry         Evans           PPS25-0194

 Dennis            Dahlberg       PPS25-0021         Robert        Fairbanks       PPS25-0195

 Maria             Darling        PPS25-0172         Ryan          Fortune         PPS25-0196

 Bryce             Dearborn       PPS25-0173         Melissa       Fritz           PPS25-0197

 Robert            DeLacy III     PPS25-0174         Richard       Gerber          PPS25-0198

 Robert            DeLacy Jr      PPS25-0175         Kurie         Ghersini        PPS25-0385

 Dominic           DellaPorte     PPS25-0176         Adam          Golden          PPS25-0199

 Cheryl            Dofelmire      PPS25-0177         Bradley       Gordon          PPS25-0200

 Claudia           Dohn           PPS25-0178         Kimberly      Greenway        PPS25-0201

 Amy               Donarski       PPS25-0179         Dawn          Griffin-Luce    PPS25-0202

 Aaron             Donarski Sr.   PPS25-0180         Paul          Grimes          PPS25-0203

 Dale              Dorning        PPS25-0181         Charles       Gunndug         PPS25-0204

 Catherine         Drake          PPS25-0182         Mark          Hagood          PPS25-0205

 John              Dressler       PPS25-0183         John          Harder          PPS25-0387

 Rebecca           Dressler       PPS25-0184         Christy       Hartline        PPS25-0389

 Terrence          Drew           PPS25-0185         James         Harvey Jr.      PPS25-0206

 Michael           Dunard         PPS25-0186         Grace         Hazell          PPS25-0207

 Josh              Dunn           PPS25-0187         Stephen       Heitz           PPS25-0208




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 Austen            Hendrickson   PPS25-0209         Michele       Kriner          PPS25-0231

 Elizabeth         Henson        PPS25-0210         Wyman         Kroft           PPS25-0412

 Michael           Hibler        PPS25-0211         Casey         Lanford         PPS25-0232

 Trinity           Hibler        PPS25-0212         Marcus        Lawing          PPS25-0233

 Averi             Holman        PPS25-0213         Jennifer      Lecuyer         PPS25-0318

 Jenna             Holt          PPS25-0214         John          Lichtenegger    PPS25-0234

 Parry             Howell        PPS25-0215         Bryan         Liebhart        PPS25-0235

 Martin            Hueckel       PPS25-0216         Bert          Lott            PPS25-0236

 Michael D         Huffman       PPS25-0217         Robert        Maliuuk         PPS25-0237

 Pamela S          Huffman       PPS25-0218         Winnonna      Maliuuk         PPS25-0238

 Anthony           Iavarone      PPS25-0219         Bonnie        Marvin          PPS25-0239

 George            Illidge       PPS25-0220         Michael       McMahon         PPS25-0240

 Frank             James         PPS25-0221         Michael       Meador          PPS25-0241

 Matthew           Jankowski     PPS25-0222         James         Meadows         PPS25-0242

 Zachary           Jenkins       PPS25-0223         Krista        Meadows         PPS25-0243

 Betty             Johnson       PPS25-0224         Jerry         Melber          PPS25-0244

 Kevin             Johnson       PPS25-0225         Carrie        Melte           PPS25-0245

 Ron               Johnson       PPS25-0226         Eric          Mendenhall      PPS25-0246

 Patrick           Jones         PPS25-0227         Matthew       Millhollin      PPS25-0247

 Kenneth           Kearney       PPS25-0228         Carla         Monegain        PPS25-0248

 Ken               Klewicki      PPS25-0229         Spencer       Montgomery      PPS25-0249

 Janice            Kirkhart      PPS25-0056         Christopher   Moore           PPS25-0250

 Tyler             Kirkhart      PPS25-0057         Daniel        Moore           PPS25-0251

 Brent             Kirkhart      PPS25-0058         Michael       Morrison        PPS25-0252

 Anthony           Ko            PPS25-0230         Nancy         Muchnick        PPS25-0253




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 Kelly             Murski      PPS25-0254         Christopher   Reed              PPS25-0274

 Paul              Nardizzi    PPS25-0255         Gavin         Rees              PPS25-0275

 Lance             Neff        PPS25-0256         Lisa          Rees              PPS25-0276

 Wendy             Neff        PPS25-0257         Cheryl        Richey            PPS25-0277

 Jeremy            Nicholas    PPS25-0079         Chase         Ridgeway          PPS25-0278

 Aubrianna         Nichols     PPS25-0258         Richard       Rober             PPS25-0279

 Diana             Nichols     PPS25-0259         David         Roberts           PPS25-0280

 Jeffrey           Nichols     PPS25-0260         Patricia      Roberts           PPS25-0281

 Carla             Niekamp     PPS25-0359         Richard       Ross Jr.          PPS25-0282

 Michael           Noble       PPS25-0080         Steve         Rozhon            PPS25-0283

 Daryl             Oestreich   PPS25-0262         Rene Ann      Rulo              PPS25-0284

 Branson           Oxford      PPS25-0394         Robert        Sanders           PPS25-0285

 Daniel            Owens       PPS25-0263         Vincent       Sarelli           PPS25-0286

 Craig             Palmer      PPS25-0264         Tristan       Seaver            PPS25-0287

 Cynthia           Paris       PPS25-0265         Westley       Seifert           PPS25-0288

 M. Frederick      Parsons     PPS25-0266         Terri Lynn    Shean-Gilam       PPS25-0289

 Cody              Patton      PPS25-0267         Katie         Shiflett          PPS25-0290

 Vincent           Piazza      PPS25-0268         Kenneth       Short             PPS25-0291

 Timothy           Pinney      PPS25-0269         Jordan        Sitarski          PPS25-0292

 Nancy             Porter      PPS25-0270         Thomas        Skinner           PPS25-0293

 Mason             Potter      PPS25-0271         Bryan         Smith             PPS25-0294

 Benjamin          Purser      PPS25-0272         Brian         Smith             PPS25-0295

 Jason             Ramey       PPS25-0319         Garrett       Smith             PPS25-0296

 Jadyn             Ramey       PPS25-0320         Gean          Smith             PPS25-0297

 Richard           Ramirez     PPS25-0273         Katie Jo      Smith             PPS25-0298




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 Anthony           Spada              PPS25-0299                 Zachary           Wakid              PPS25-0309

 Melissa           Spencer-Bryant     PPS25-0300                 Ambiko            Wallace            PPS25-0310

 Samuel            Staton             PPS25-0301                 Stephen           Waters             PPS25-0119

 Shelby            Stauble            PPS25-0302                 Michael           Weaver             PPS25-0311

 Frances           Stewart            PPS25-0399                 Ryan E.           Weekley            PPS25-0120

 Jason             Stoor              PPS25-0303                 Austin            Weekley            PPS25-0121

 Steven            Stosur             PPS25-0304                 Ryan M.           Weekley            PPS25-0122

 Joshua            Swanson            PPS25-0401                 Barbara           West               PPS25-0312

 Cody              Swartz             PPS25-0402                 Crystal           Williams           PPS25-0313

 Ravon             Swindell           PPS25-0403                 Jack L.           Williams           PPS25-0314

 Ramona            Talvacchio         PPS25-0305                 Gregory           Willing            PPS25-0315

 Jeffrey           Teitel             PPS25-0306                 Conni             Wilson             PPS25-0128

 John              Thompson           PPS25-0307                 Edwin             Young              PPS25-0316

 John              Udy                PPS25-0308                 Nick              Zotti              PPS25-0317

 Robert            Vick II            PPS25-0116

 Brad              Votaw              PPS25-0117

as private process servers in the above-captioned matter. In support of said motion, Plaintiff states that the above-
named individuals are on the Court’s list of approved process servers and the information contained in their
applications and affidavits on file is current and still correct.




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                                                           Respectfully Submitted,
                                                           KUTAK ROCK LLP
                                                           s/ M. Courtney Koger
                                                           M. Courtney Koger MO #42343
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                                                           Kansas City, MO 64108
                                                           Tel: 816-960-0900
                                                           Fax: 816-960-0041
                                                           Courtney.Koger@KutakRock.com

                                                           Thomas J. Kenny (pro hac vice forthcoming)
                                                           Suzanne M. Shehan (pro hac vice forthcoming)
                                                           The Omaha Building
                                                           1650 Farnam Street
                                                           Omaha, NE 68102
                                                           Tel: 402-346-6000
                                                           Thomas.Kenny@KutaRrock.com
                                                           Suzanne.Shehan-ames@KutakRock.com

                                                           Attorneys for Plaintiff


                           ORDER FOR APPOINTMENT OF PRIVATE PROCESS SERVER
It is hereby ordered that Plaintiff’s Motion for Appointment of Private Process Server is sustained and that HPS Process
Service & Investigations and the above named individuals are hereby appointed to serve process in the above
captioned matter.

DATE:                                                           ______________________________
                                                                Judge or Circuit Clerk




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